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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10    MOSAFER INC.; MOSAFER E-COM, Case No. 2:21-cv-06320-MCS-JC
11    INC.; AND GOMOSAFER,
                                   JUDGMENT
12                  Plaintiffs,
13
                 v.
14
15    ELLIOT BROIDY; GEORGE
      NADER; BROIDY CAPITAL
16
      MANAGEMENT, LLC; CIRCINUS,
17    LLC; THE IRON GROUP INC. D/B/A
      IRONISTIC.COM; SCL SOCIAL
18
      LIMITED; PROJECT ASSOCIATES
19    UK LTD; MATTHEW ATKINSON;
      AND JOHN DOES 1–100,
20
21                     Defendants.
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 1
 2    ELLIOT BROIDY; BROIDY
      CAPITAL MANAGEMENT, LLC;
 3    AND CIRCINUS, LLC,
 4
                         Counterclaimants,
 5
 6                v.
 7    MOSAFER INC.; MOSAFER ECOM,
 8    INC.; GOMOSAFER; STATE OF
      QATAR; ABU ISSA HOLDING WLL;
 9    ASHRAF ABU ISSA; AND NABIL
10    ABU ISSA,
11                       Counterclaim-
12                       Defendants.
13
14         Pursuant to the Court’s Order Re: Pending Motions, it is ordered, adjudged, and
15   decreed:
16         The state law claims in the Complaint are stricken, and the federal claim is
17   dismissed. The Complaint is dismissed with prejudice and without leave to amend.
18         The abuse of process claim in the Counterclaim is stricken, and the other claims
19   are dismissed. The Counterclaim is dismissed without prejudice for lack of jurisdiction
20   as to the State of Qatar, with prejudice as to the other counterclaim defendants, and
21   without leave to amend.
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 1         No party shall take anything from this action except to the extent fees and costs
 2   are recoverable under California Code of Civil Procedure section 425.16(c)(1) and 28
 3   U.S.C. § 1920.
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 5   IT IS SO ORDERED.
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 7    Dated: February 4, 2022
 8                                                 MARK C. SCARSI
                                                   UNITED STATES DISTRICT JUDGE
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